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                                  UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF MICHIGAN

SHARAI BALFORD

     Plaintiff,

v.                                                    Case No. _________________

BANK OF NEW YORK MELLON F/K/A
BANK OF NEW YORK AS TRUSTEE FOR      Hon. _____________________
THE CERTIFICATE HOLDERS OF CWABS,
INC. ASSET-BACKED CERTIFICATES 2005-
17; BANK OF AMERICA; SPECIALIZED
LOAN SERVICING, LLC; and MORTAGE
ELECTRONIC REGISTRATIONS SYSTEMS, Removed from:
INC.                                 Circuit Court for Oakland County
                                     Case No. 2012-128839-CH
   Defendants.
                                     Hon. Daniel O’Brien




                                             INDEX OF EXHIBITS

                              NOTICE OF REMOVAL FROM STATE COURT

              1.        State Court Record

              2.        Notice of Filing Notice of Removal

              3.        Consent to Filing Notice of Removal




     1311663 (11225-0323)                              1
